

Matter of DLV SR Invs., LLC v Town of Amenia (2024 NY Slip Op 01175)





Matter of DLV SR Invs., LLC v Town of Amenia


2024 NY Slip Op 01175


Decided on March 6, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 6, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
ROBERT J. MILLER
PAUL WOOTEN
DEBORAH A. DOWLING, JJ.


2022-02823
 (Index No. 51764/20)

[*1]In the Matter of DLV SR Investors, LLC, appellant,
vTown of Amenia, etc., et al., respondents, et al., intervenor-respondent.


Herman Katz Cangemi Wilkes &amp; Clyne, LLP, Tarrytown, NY (David C. Wilkes and Nicholas J. Connolly of counsel), for appellant.
Cappillino Rothschild &amp; Egan LLP, Pawling, NY (Shane J. Egan of counsel), for respondents.



DECISION &amp; ORDER
In a proceeding pursuant to Real Property Tax Law article 7 to review a real property tax assessment for the 2020 tax year, the petitioner appeals from a judgment of the Supreme Court, Dutchess County (James V. Brands, J.), dated March 7, 2022. The judgment, upon an order of the same court dated January 5, 2022, granting the motion of the respondents, Town of Amenia, its Assessor, and its Board of Assessment Review, for summary judgment dismissing the petition, is in favor of the respondents and against the petitioner determining that the assessed value of the subject property shall remain at the 2019 assessed value pursuant to Real Property Tax Law § 727 and dismissing the proceeding.
ORDERED that the judgment is reversed, on the law, with costs, the petition is reinstated, the motion of the respondents, Town of Amenia, its Assessor, and its Board of Assessment Review, for summary judgment dismissing the petition is denied, the order dated January 5, 2022, is modified accordingly, and the matter is remitted to the Supreme Court, Dutchess County, for further proceedings consistent herewith.
The petitioner commenced this proceeding pursuant to Real Property Tax Law article 7 to review a real property tax assessment for the 2020 tax year by the respondents, Town of Amenia, its Assessor, and its Board of Assessment Review (hereinafter collectively the Town). The Town moved for summary judgment dismissing the petition. By order dated January 5, 2022, the Supreme Court granted the motion. By judgment dated March 7, 2022, the court dismissed the proceeding. The petitioner appeals.
For the reasons stated in Matter of Silo Ridge LL29, LLC v Town of Amenia (____ AD3d ____ [Appellate Division Docket No. 2022-02818; decided herewith]), the Supreme Court should have denied the Town's motion for summary judgment dismissing the petition.
DILLON, J.P., MILLER, WOOTEN and DOWLING, JJ., concur.
ENTER:
Darrell M. Joseph
Acting Clerk of the Court








